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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
                v.                          :
                                            :       Case Number 21-cr-175 (TJK)
ETHAN NORDEAN et al.,                       :
                                            :
                      Defendants.           :

   UNITED STATES’ RESPONSE TO DEFENDANTS’ NOTICE OF INFORMATION
                   RELEVANT TO BAIL PROCEEDINGS

       On September 19, 2021, defendant Ethan Nordean filed a notice of information “relevant

to bail proceedings,” alleging that the government engaged in misconduct relating to co-defendant

Zachary Rehl (ECF No. 174). On September 20, 2021, defendant Joseph Biggs joined that notice.

(ECF No.175).

       The allegations of government misconduct are false.       It would be improper for the

government to address these allegations with counsel for defendants Nordean or Biggs, neither of

whom represent defendant Rehl, or to address them further in a public filing. Defendant Rehl is

represented by counsel, with whom the government has conferred regarding these allegations.

       Contrary to defendant Nordean’s suggestion (ECF No. 174 at 4-7), the allegations have no

bearing on his or defendant Biggs’ pending motions to reopen bail hearings. Moreover, the

allegations are spurious and should not be countenenced by the Court.
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                            Respectfully submitted,

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